                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: JIT Industries, Inc.                       )           Case No.: 18-80892-CRJ-11
        EIN: xx-xxx7267                            )
                                                   )
                Debtor.                            )           CHAPTER 11


                 DEBTOR’S NOTICE OF AMENDMENT OF SCHEDULES

         COMES NOW the Debtor in the above styled matter and hereby files amended Schedule
 A/B and Summary of Assets and Liabilities consisting of 11 pages, by substituting the attached
 amended schedule for those originally filed, pursuant to Fed. R. Bankruptcy P. 1009. The
 specific changes are as follows:

        Schedule A/B Property has been modified
 -to show amended value of Debtor’s raw materials
 -to show that the property listed in Part 5 has been appraised by a professional within the last
 year
 -to show amended value of Debtor’s office furniture
 -to show amended value of Debtor’s Goose Neck Trailer
 -to show amended value of Debtor’s other machinery


                                                       /s/Tazewell T. Shepard_________________
                                                       Tazewell T. Shepard

                                                       SPARKMAN, SHEPARD & MORRIS, P.C.
                                                       P.O. Box 19045
                                                       Huntsville, AL 35804
                                                       Tel: (256) 512-9924
                                                       Fax: (256) 512-9938

 I DECLARE UNDER PENALTY OF PERJURY THAT THE ATTACHED AMENDED
 SCHEDULES ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE,
 INFORMATION AND BELIEF.

 Dated: October 10, 2018                       /s/ Ginger McComb
                                               Ginger McComb




Case 18-80892-CRJ11         Doc 96     Filed 10/10/18 Entered 10/10/18 10:29:34            Desc Main
                                     Document      Page 1 of 11
                                 CERTIFICATE OF SERVICE

         This is to certify that I have this 10th day of October served the foregoing upon all listed
 creditors found on the attached Clerk’s Certified Matrix; upon all those persons requesting notice
 in this case, and upon the following listed persons by electronic service through the Court’s
 CM/ECF system and/or by depositing said copies in the U. S. Mail in properly addressed
 envelopes with adequate postage thereon:

        Richard Blythe, Esquire
        Office of the Bankruptcy Administrator
        P. O. Box 3045
        Decatur, AL 35602

                                                      /s/Tazewell T. Shepard
                                                      Tazewell Shepard




Case 18-80892-CRJ11        Doc 96     Filed 10/10/18 Entered 10/10/18 10:29:34             Desc Main
                                    Document      Page 2 of 11
 Fill in this information to identify the case:

 Debtor name            JIT Industries, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)               18-80892
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           221,278.74

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           221,278.74


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $         1,050,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           863,882.14


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,913,882.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy


         Case 18-80892-CRJ11                                        Doc 96            Filed 10/10/18 Entered 10/10/18 10:29:34                                                              Desc Main
                                                                                    Document      Page 3 of 11
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-80892
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Peoples Bank of Alabama                                 Checking                                                                   $344.18




           3.2.     Bank Independent                                        Checking                                                                   $563.35



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $907.53
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy


         Case 18-80892-CRJ11                            Doc 96         Filed 10/10/18 Entered 10/10/18 10:29:34                          Desc Main
                                                                     Document      Page 4 of 11
 Debtor         JIT Industries, Inc.                                                                    Case number (If known) 18-80892
                Name


           11a. 90 days old or less:                                 77,340.00    -                                    0.00 = ....                  $77,340.00
                                              face amount                                 doubtful or uncollectible accounts




           11b. Over 90 days old:                                    47,713.21    -                                   0.00 =....                    $47,713.21
                                              face amount                                 doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                    $125,053.21
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used    Current value of
                                                      physical inventory              debtor's interest          for current value        debtor's interest
                                                                                      (Where available)

 19.       Raw materials
           Raw Materials                                                                              $0.00                                           $4,000.00



 20.       Work in progress
           Work in progess                                                                            $0.00                                         $10,000.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                     $14,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy


        Case 18-80892-CRJ11                             Doc 96           Filed 10/10/18 Entered 10/10/18 10:29:34                          Desc Main
                                                                       Document      Page 5 of 11
 Debtor         JIT Industries, Inc.                                                          Case number (If known) 18-80892
                Name


        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, Chairs, Conference Table, Cradenza,
           Filing Cabinets, Shredder                                                        $0.00                                           $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attached list                                                                $0.00                                           $2,600.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $7,600.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2010 Ford Transit Connect XLT                                          $0.00                                           $8,500.00


           47.2.     Goose Neck Trailer                                                     $0.00                                           $4,000.00


           47.3.     1999 Dodge Ram 3500                                                    $0.00                                           $5,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy


        Case 18-80892-CRJ11                             Doc 96         Filed 10/10/18 Entered 10/10/18 10:29:34                  Desc Main
                                                                     Document      Page 6 of 11
 Debtor         JIT Industries, Inc.                                                          Case number (If known) 18-80892
                Name



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Various Shipping & Assembly Items, Cranes,
            Air Compressors, Various Repair Equipment,
            Cabinets & Shelving, Lathes, Mills, Drill,
            Welder, Forklift, Various Machinery, & Various
            Tools                                                                           $0.00                                         $56,000.00




 51.        Total of Part 8.                                                                                                          $73,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.jitindustries.com                                                           $0.00                                               $18.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer Lists and Mailing Lists                                                $0.00                                             $100.00



 64.        Other intangibles, or intellectual property
            Custom drawings used for each cylinder built
            over 15 years                                                                   $0.00                                             $100.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy


        Case 18-80892-CRJ11                             Doc 96         Filed 10/10/18 Entered 10/10/18 10:29:34                  Desc Main
                                                                     Document      Page 7 of 11
 Debtor         JIT Industries, Inc.                                                         Case number (If known) 18-80892
                Name



 65.        Goodwill

 66.        Total of Part 10.                                                                                                             $218.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Damage to debtor's reputation and credit; Breach of
            fiduciary duty as partner; Breach of fiduciary duty as
            receiver                                                                                                                       Unknown
            Nature of claim          Commercial Tort Claim
            Amount requested                              $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

            Partnership contributions                                                                                                      Unknown
            Nature of claim
            Amount requested                                             $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy


        Case 18-80892-CRJ11                             Doc 96         Filed 10/10/18 Entered 10/10/18 10:29:34                 Desc Main
                                                                     Document      Page 8 of 11
 Debtor         JIT Industries, Inc.                                                         Case number (If known) 18-80892
                Name



 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy


        Case 18-80892-CRJ11                             Doc 96         Filed 10/10/18 Entered 10/10/18 10:29:34                Desc Main
                                                                     Document      Page 9 of 11
 Debtor          JIT Industries, Inc.                                                                                Case number (If known) 18-80892
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $907.53

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $125,053.21

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $14,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $7,600.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $73,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $218.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $221,278.74           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $221,278.74




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy


         Case 18-80892-CRJ11                                Doc 96 Filed 10/10/18 Entered 10/10/18 10:29:34                                                  Desc Main
                                                                  Document    Page 10 of 11
    Description             Interest     Market Value       Purchase Date

COMPUTER EQUIPMENT
     Computer Server           own            $100              5/21/2013
          Laptop               own            $100              3/17/2012
        Compac PC              own            $100              6/10/2011
    External Hard Drive        own            $200              11/17/2011
        Computers              own            $600              2/12/2010
   Quickbooks Software         own            $500              5/19/2003
        Keyboards              own            $100              2/17/2002
  Computer Components          own            $100              2/17/2002
         Monitor               own            $500              1/15/1900
          Printer              own            $200
        Telephones             own            $100




 Case 18-80892-CRJ11      Doc 96 Filed 10/10/18 Entered 10/10/18 10:29:34    Desc Main
                                Document    Page 11 of 11
